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       On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                       the District of Columbia Bar does hereby certify that



                      Jacob Isaac Chervinsky
    was duly qualified and admitted on February 9, 2015 as an attorney and counselor entitled to
     practice before this Court; and is, on the date indicated below, an Active member in good
                                         standing of this Bar.




                                                                            In Testimony Whereof,
                                                                        I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                              Court at the City of
                                                                     Washington, D.C., on March 18, 2024.




                                                                            JULIO A. CASTILLO
                                                                             Clerk of the Court




                                                        Issued By:


                                                                         David Chu - Director, Membership
                                                                        District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
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                        VIRGINIA STATE BAR

                  CERTIFICATE OF GOOD STANDING

      THIS IS TO CERTIFY THAT JACOB ISAAC CHERVINSKY IS AN ACTIVE MEMBER OF THE

VIRGINIA STATE BAR IN GOOD STANDING. MR. CHERVINSKY WAS LICENSED TO PRACTICE LAW IN

VIRGINIA ON OCTOBER 31, 2013, AFTER SUCCESSFULLY PASSING THE BAR EXAMINATION GIVEN BY

THE BOARD OF BAR EXAMINERS.

Issued March 27, 2024




                                                                                     DaVida M. Davis
                                                                           Director of Regulatory Compliance
